69 F.3d 553
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Patricio B. BAUTISTA, Petitioner,v.MERIT SYSTEMS PROTECTION BOARD, Respondent.
    No. 95-3671.
    United States Court of Appeals, Federal Circuit.
    Oct. 3, 1995.
    68 M.S.P.R. 77
    
      1
      PETITION REINSTATED.
    
    ON MOTION ORDER
    
      2
      Patricio B. Bautista's motion for leave to proceed in forma pauperis having been granted, and his Fed.  Cir. R. 15(c) statement and informal brief having been received,
    
    IT IS ORDERED THAT:
    
      3
      The court's August 23, 1995 dismissal order is vacated, the mandate is recalled, and the petition is reinstated.
    
    